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                                  UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) BLACK EMERGENCY RESPONSE TEAM                             )
                                                              )
(2) UNIVERSITY OF OKLAHOMA CHAPTER OF                         )
THE AMERICAN ASSOCIATION OF UNIVERSITY                        )
PROFESSORS,                                                   )
                                                              )
(3) OKLAHOMA STATE CONFERENCE OF THE                          )
NATIONAL ASSOCIATION FOR THE                                  )
ADVANCEMENT OF COLORED PEOPLE,                                )
                                                              )
(4) AMERICAN INDIAN MOVEMENT INDIAN                           )
TERRITORY,                                                    )
                                                              )
(5) PRECIOUS LLOYD, as next of friend of S. L.,               )
                                                              )
(6) ANTHONY CRAWFORD, and                                     )
                                                              )
(7) REGAN KILLACKEY,                                          )
                                                              )
                                          Plaintiffs,         )
-vs-                                                          ) CIV-21-1022-G
                                                              )
                                                              ) Judge Charles Goodwin
                                                              )
                                                              )
(1) JOHN O’CONNOR, in his official capacity as                )
Oklahoma Attorney General,                                    )
                                                              )
(2) JOY HOFMEISTER, in her official capacity as               )
Oklahoma Superintendent of Public Instruction,                )
                                                              )
(3) WILLIAM FLANAGAN,                                         )
(4) CARLISHA BRADLEY,                                         )
(5) JENNIFER MONIES,                                          )
(6) ESTELA HERNANDEZ,                                         )
(7) BRIAN BOBEK,                                              )
(8) TRENT SMITH, in their official capacities as              )
members of the Oklahoma State Board of Education,             )



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(9) KEVIN STITT, in his official capacity as                        )
Governor of Oklahoma,                                               )
(10) JEFFREY HICKMAN,                                               )
(11) MICHAEL TURPEN,                                                )
(12) STEVEN TAYLOR,                                                 )
(13) DENNIS CASEY,                                                  )
(14) JAY HELM,                                                      )
(15) ANN HOLLOWAY,                                                  )
(16) JOSEPH PARKER JR.,                                             )
(17) JACK SHERRY,                                                   )
(18) COURTNEY WARMINGTON, in their official                         )
capacities as the Oklahoma State Regents for Higher                 )
Education,                                                          )
                                                                    )
(19) MICHAEL CAWLEY,                                                )
(20) FRANK KEATING,                                                 )
(21) PHIL ALBERT,                                                   )
(22) NATALIE SHIRLEY,                                               )
(23) ERIC STEVENSON,                                                )
(24) ANITA HOLLOWAY,                                                )
(25) RICK NAGEL, in their official capacities                       )
as members of the Board of Regents of the University                )
of Oklahoma, and,                                                   )
                                                                    )
(26) INDEPENDENT SCHOOL DISTRICT                                    )
NO. 12, Oklahoma County, Oklahoma,                                  )
                                                                    )
                                          Defendants.               )


                                           ENTRY OF APPEARANCE

To the Clerk of this Court and all parties of record:

            Please enter my appearance as counsel in this case for Defendants Independent School

District No. 12 of Oklahoma County, a/k/a Edmond Public Schools. I certify that I am

admitted to practice in this Court and am registered to file documents electronically with this

Court.



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                                                        S/F. Andrew Fugitt
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                                                        Justin C. Cliburn, OBA #32223
                                                        The Center For Education Law, P.C.
                                                        900 N. Broadway, Suite 300
                                                        Oklahoma City, OK 73102
                                                        Telephone: (405) 528-2800
                                                        Facsimile: (405) 528-5800
                                                        E-Mail: AFugitt@cfel.com
                                                        Attorney For Defendant, Independent
                                                        School District No. 12, Oklahoma County,
                                                        Oklahoma



                                          Certificate of Service

       I hereby certify that on August 25, 2022 I electronically transmitted the attached
document to the Clerk of the Court using the Electronic Case Filing system for filing. Based
on the records currently on file in this case, the Clerk of Court will transmit a Notice of
Electronic Filing to those registered participants of the ECF System: Genevieve Bonadies
Torres, David Hinojosa, Gary Stein, Michael Cutini, Sara Solfanelli, Elahe Hosseini, Amir
Shakoorian, Ramya Sundaram, Megan Lambert, Emerson Sykes, Leah Watson, Sarah Hinger


                                                               S/F. Andrew Fugitt
                                                               F. Andrew Fugitt




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